
662 S.E.2d 665 (2008)
ANDREWS
v.
HAYGOOD.
No. 57A07-2.
Supreme Court of North Carolina.
May 16, 2008.
Pamela S. Duffy, Molly A. Orndorff, Burlington, for Charlie Brown, Trustee.
Susannah Holloway, for NCDHHS.
Timothy P. Lehan, Raleigh, Robert M. Clay, for Haygood, et al.
Brent Stephens, Durham, for Andrews, et al.
Burton Craige, Raleigh, for NCATL.
The following order has been entered on the motion filed on the 12th day of May 2008 by NCATL for leave to file Amicus Curiae Brief:
"Motion Allowed. Unless already submitted, the Amicus Brief shall be submitted to the court within the times allowed and in the manner provided by Appellate Rule 28(i). By order of the Court in conference this the 16th day of May 2008."
